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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                27 Putnam Ave LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  114 East 13th Street
                                  New York, NY 10003
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  27-29 Putnam Avenue Brooklyn, NY 11238
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    27 Putnam Ave LP                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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                                                                           Pg 3 of 14
Debtor   27 Putnam Ave LP                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    27 Putnam Ave LP                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ David Schieble                                                       David Schieble
                                 Signature of authorized representative of debtor                         Printed name

                                          Clinton Hill GP LLC, by David Scheible,
                                 Title    authorized signatory




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date October 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:
 Debtor name 27 Putnam Ave LP
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Atlantic Intercom                                               Vendor                                                                                                       $631.00
 Services
 652 Central Park
 Ave
 Yonkers, NY 10704
 Audrey Signs                                                    Vendor                                                                                                       $483.00
 600 W 57 St. Fl 3
 New York, NY 10019
 Berline Lucien                                                  Unknown                                                                                                          $0.00
 1564 Union St. Apt
 3C
 Brooklyn, NY 11213
 Best Housekeeping                                               Vendor                                                                                                       $653.00
 Ind. Inc.
 17 Avenue A
 New York, NY 10009
 City of New York -                                              Possible                                                                                                         $0.00
 ECB                                                             Violations
 Environmental
 Control Board
 66 John St
 New York, NY 10038
 City of New York                                                Violations             Unliquidated                                                                        $4,250.00
 HPD
 Dept. of Housing
 Preservation & Dev.
 100 Gold Street, 6th
 Fl
 New York, NY 10038
 Con Edison                                                      Utilities                                                                                                    $585.00
 4 Irving Pl
 New York, NY 10003
 Jack Jaffa                                                      Vendor                                                                                                       $550.00
 147 Prince Street
 Brooklyn, NY 11201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    27 Putnam Ave LP                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Kossoff, PLLC                                                   Attorney                                                                                                   $1,187.00
 271 Broadway Suite
 401
 New York, NY 10007
 Miguels Locksmith                                               Vendor                                                                                                       $294.00
 672 4th Ave Ste 2
 Brooklyn, NY 11232
 NYC Corporate Tax                                               Possible tax                                                                                                     $0.00
 66 John Street, Rm
 104
 New York, NY 10038
 NYC Dept of                                                     Tax                                                                                                          $125.00
 Finance
 attn: Legal Affairs
 345 Adams St, 3rd
 Floor
 Brooklyn, NY
 11201-3719
 NYC Water Board                                                 Utility                Unliquidated                                                                      $15,977.00
 PO Box 11863
 Newark, NJ
 07101-8163
 NYS Dept of Tax &                                               Possible Tax                                                                                                     $0.00
 Finance
 Bankruptcy Unit
 PO Box 5300
 Albany, NY 12205
 Statewide Oil &                                                 Vendor                                                                                                     $1,579.00
 Heating
 611 Court St
 Brooklyn, NY 11231
 Time Warner Cable                                               Utility                Unliquidated                                                                          $524.00
 41-61 Kissena Blvd.
 Flushing, NY 11355
 Tuttle Yick LLP                                                 Attorney                                                                                                     $701.00
 220 E 42 St Fl 29
 New York, NY 10017
 Webster Lock &                                                  Vendor                                                                                                     $2,041.00
 Hardware
 2471 Webster Ave
 Bronx, NY 10458




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      27 Putnam Ave LP                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 ClintonHill Mezz Borrower LP
 114 East 13th Street
 New York, NY 10003


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Clinton Hill GP LLC, by David Scheible, authorized signatory of the partnership named as the debtor in this
case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.



 Date October 25, 2019                                                       Signature /s/ David Schieble
                                                                                            David Schieble

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           423 Grand Ave LP
                           114 East 13th Street
                           New York, NY 10003
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                       429 Grand Ave LP
                       114 East 13th Street
                       New York, NY 10003


                       90 Downing St LP
                       114 East 13th Street
                       New York, NY 10003


                       Alan Goldberg, Paul Arkoian
                       29 Putnam Ave
                       Apt2E
                       Brooklyn, NY 11238


                       Albert Hallman
                       29 Putnam Ave
                       Apt 4B
                       Brooklyn, NY 11238


                       Andrew Ramcharan
                       29 Putnam Ave
                       Apt 4E
                       Brooklyn, NY 11238


                       Atlantic Intercom Services
                       652 Central Park Ave
                       Yonkers, NY 10704


                       Audrey Signs
                       600 W 57 St. Fl 3
                       New York, NY 10019


                       Basile Chauffour, Madison Boriskin
                       29 Putnam Ave
                       Apt 3C
                       Brooklyn, NY 11238


                       Berline Lucien
                       1564 Union St. Apt 3C
                       Brooklyn, NY 11213


                       Best Housekeeping Ind. Inc.
                       17 Avenue A
                       New York, NY 10009
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                       Brian Decourcy
                       29 Putnam Ave
                       Apt 3D
                       Brooklyn, NY 11238


                       Christina Ferwerda, Hargis Vuong
                       29 Putnam Ave
                       Apt 2B
                       Brooklyn, NY 11238


                       City of New York - ECB
                       Environmental Control Board
                       66 John St
                       New York, NY 10038


                       City of New York HPD
                       Dept. of Housing Preservation & Dev.
                       100 Gold Street, 6th Fl
                       New York, NY 10038


                       Con Edison
                       4 Irving Pl
                       New York, NY 10003


                       Courtney Klender, Maya Hutchison
                       Kegan Quimbly
                       29 Putnam Ave, Apt. 3E
                       Brooklyn, NY 11238


                       DS-CREF3 Clinton Senior Notebuyer LLC
                       114 East 13th Street
                       New York, NY 10003


                       Eli Schmitt, Megan Hicks
                       29 Putnam Ave
                       Apt 4D
                       Brooklyn, NY 11238


                       Elise McClean
                       29 Putnam Ave
                       Apt 2A
                       Brooklyn, NY 11238
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                       Hannah Winkler
                       29 Putnam Ave
                       Apt 3A
                       Brooklyn, NY 11238


                       Harrison Brown
                       29 Putnam Ave
                       Apt 1B
                       Brooklyn, NY 11238


                       Jack Jaffa
                       147 Prince Street
                       Brooklyn, NY 11201


                       Jazmine Dugall
                       29 Putnam Ave
                       Apt 4C
                       Brooklyn, NY 11238


                       Joseph Lorwin
                       29 Putnam Ave
                       Apt 1D
                       Brooklyn, NY 11238


                       Kossoff, PLLC
                       271 Broadway Suite 401
                       New York, NY 10007


                       Leigh Delollis, Joann Giouros
                       29 Putnam Ave
                       Apt 4A
                       Brooklyn, NY 11238


                       Miguels Locksmith
                       672 4th Ave Ste 2
                       Brooklyn, NY 11232


                       Nathan Manuel
                       29 Putnam Ave
                       Apt 3B
                       Brooklyn, NY 11238


                       NYC Corporate Tax
                       66 John Street, Rm 104
                       New York, NY 10038
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                       NYC Dept of Finance
                       attn: Legal Affairs
                       345 Adams St, 3rd Floor
                       Brooklyn, NY 11201-3719


                       NYC Water Board
                       PO Box 11863
                       Newark, NJ 07101-8163


                       Rose Burns
                       29 Putnam Ave
                       Apt 1A
                       Brooklyn, NY 11238


                       Sandra Ford
                       29 Putnam Ave
                       Apt 2D
                       Brooklyn, NY 11238


                       Statewide Oil & Heating
                       611 Court St
                       Brooklyn, NY 11231


                       Tara Duvivier
                       29 Putnam Ave
                       Apt 2C
                       Brooklyn, NY 11238


                       Time Warner Cable
                       41-61 Kissena Blvd.
                       Flushing, NY 11355


                       Tuttle Yick LLP
                       220 E 42 St Fl 29
                       New York, NY 10017


                       Webster Lock & Hardware
                       2471 Webster Ave
                       Bronx, NY 10458
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      27 Putnam Ave LP                                                                               Case No.
                                                                                  Debtor(s)                Chapter     11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

            I,   David Scheible ,
                         declare under penalty of perjury that I am an authorized signatory of Clinton Hill GP LLC,
general partner of 27 Putnam Ave LP,
                                  and that the following is a true and correct copy of the resolutions adopted at
a special meeting duly called and held on the 22nd day of October, 2019.

       "Whereas, it is in the best interest of this LP to file a voluntary petition in the United States Bankruptcy
Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Clinton Hill GP LLC, by David Scheible, authorized signatory, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case; and

       Be It Further Resolved, that Clinton Hill GP LLC, by David Scheible, authorized signatory is authorized
and directed to appear in all bankruptcy proceedings and to otherwise do and perform all acts and deeds and to
execute and deliver all necessary documents in connection with such bankruptcy case, and

       Be It Further Resolved, that Clinton Hill GP LLC, by David Scheible, authorized signatory is authorized
and directed to employ the law firm of Backenroth Frankel & Krinsky, LLP in such bankruptcy case."

 Date       October 22 , 2019                                                   Signed   /s/ David Scheible, authorized signatory




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                                                                      Resolution of
                                                                     27 Putnam Ave LP




      Whereas, it is in the best interest of this LP to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, thatClinton Hill GP LLC, by David Scheible, authorized signatory
is authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case; and

       Be It Further Resolved, thatClinton Hill GP LLC, by David Scheible, authorized signatory is authorized
and directed to appear in all bankruptcy proceedings and to otherwise do and perform all acts and deeds and to
execute and deliver all necessary documents on in connection with such bankruptcy case, and

       Be It Further Resolved, thatClinton Hill GP LLC, by David Scheible, authorized signatory is authorized
and directed to employ the law firm of Backenroth Frankel & Krinsky, LLP to in such bankruptcy case.




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